      Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.40 Page 1 of 30

                                                                                                                                                       SUM-100
                                          SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                            ELECTROIHCALLY FILED
(A VISO AL DEMANDADO):                                                                                            Superior Court of California,
                                                                                                                     County of San Diego
 WESTERN GOVERNORS' UNIVERSITY, a Nonprofit Corporation,
 and DOES 1 through 20, inclusive,                                                                                 08/31/2023 at 03:27:07 PM
                                                                                                                  Clerk of the Superior Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                 By Sophia Felix.Deputy Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):
 LINDSEY MACK, an individual

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 JAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corle. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
 que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrfl quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios Jega/es sin fines de lucro. Puede encontrar estos grupos sin fines de Jucro en el sitfo web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniftndose en contacto con la corte o el
 colegio de abogados locales. A VISO: Por fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la carte antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                          (NUmero de/ Caso):
(El nombre y direcci6n de la corte es): SAN DIEGO                                                                              37-2023-00D37783-CU-O&CTL

 330 West Broadway
 San Diego, CA 92101
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono def abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Kamran Shahabi, VALIANT LAW, 800 Ferrari Lane, Suite 100, Ontario, CA 91764 (909) 677-2270

 DATE:
 (Fecha)
             09,01 /2023                                             Clerk, by
                                                                     (Secretario)
                                                                                                         ~
                                                                                                S.Foll:ii:
                                                                                                                                                       , Deputy
                                                                                                                                                        (Adjunto)
(For proofof service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
  [SEALJ
                                 1.       D
                                          as an individual defendant.
                                 2.       D
                                          as the person sued under the fictitious name of (specify):


                                     3.   D     on behalf of (specify):

                                          under: D        CCP 416.10 (corporation)                D                 CCP 416.60 (minor)
                                                  D       CCP 416.20 (defunct corporation)        D                 CCP 416.70 (conservatee)
                                                  D       CCP 416.40 (association or partnership) D                 CCP 416.90 (authorized person)
                                                  D     other (specify):
                                     4.   D     by personal delivery on (date):
                                                                                                                                                          Pae1of1
 Form Adopted for Mandatory Use                                        SUMMONS                                                  Code of Civil Procedure§§ 412.20.465
   Judicial Council or California                                                                                                                 www.courlinfo.ca.gov
  SUM-100 {Rev.Julyt,2009]
        Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.41 Page 2 of 30

                                                                                                                               FOR COURT USE ONLY
                                                                                                                                                               CM 010-
                                               4
  ATTORNEY OR PARTY WITHOUT ATTORNEY Name, State Bar number, and addresg,
-Kamran Shahabi, (SBN 27619 ) Paul Nolan (SBN 1922 7)
      Valiant Law
      800 Ferrari Lane, Suite 100, Ontario, CA 91764
      Ontario, CA 91764
                      909 .677 .2270
          TELEPHONE NO.,                      FAX NO.: 909.677.2290                                                 ELECTROIIICALL V FILED
                      Plaintiff, LINDSEY MACK
     ATTORNEYFOR/N•m•Jc
                                                                                                                      Superior Court of California,
                                                                                                                         County of San Diego
SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
    srREETADDRess, 330 West Broadway                                                                                  08131/2023 al 03:27:07 PM
    MAILING ADDRESS: 330 West Broadway                                                                                Clerk of the Superior Court
   CITY AND ZIP CODE: San Diego, 92101                                                                               By Sophia Felix, Deputy Clerk
           BRANCH NAME:
     CASE NAME:
     Mack v. Western Governors Universitv
                                                                                         CASE NUMBER:
    CIVIL CASE COVER SHEET                            Complex Case Designation
[ZJ Unlimited        D     Limited                                                            37 -2023-00037783-C U-0 E- CTL
     (Amount               (Amount               D     Counter       D      Joinder                         ~
                                                                                                                                                                         -
                                                                                         JUDGE:
     demanded              demanded is          Filed with first appearance by defendant          Judge Timothy Taylor
     exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                              Items 1-6 below must be completed (see mstruct,ons on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                    Provisionally Complex Civil Litigation
      D     Auto (22)                                     D     Breach of contracUwarranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
      D      Uninsured motorist (46)                      D      Rule 3.740 collections (09)          D     AntitrusVTrade regulation (03)
      Other Pl/PD/WO (Personal Injury/Property            D    Other collections (09)                 D     Construction defect (10)
      Damage!Wrongful Death) Tort                         D    Insurance coverage (18)                D     Mass tort (40)
      D                                                   D
      B     Asbestos (04)
            Product liability (24)
            Medical malpractice (45}
                                                               Other contract (37)
                                                         Real Property
                                                          D    Eminent domain/Inverse
                                                                                                      D
                                                                                                      D
                                                                                                      D
                                                                                                            Securities litigation (28)
                                                                                                            Environmental/Toxic tort (30)
                                                                                                            Insurance coverage claims arising from the
      D     Other PI/PD/WD (23)                                condemnation (14)                            above listed provisionally complex case
      Non-PI/PD/WD (Other) Tort                           D    Wrongful eviction (33)
                                                                                                            types (41)

      D      Business tort/unfair business practice (07)  D    Other real property (26)               Enforcement of Judgment
      D      Civil rights (08)                           Unlawful Detainer                            D     Enforcement of judgment (20)
      D      Defamation (13)                              D    Commercial (31)                        Miscellaneous Civil Complaint
      D      Fraud (16)                                   D      Residential (32)                     D     RIC0(27)
      D   Intellectual property (19)                      D      Drugs(38)                            D     Other complaint (not specified above) (42)
      D   Professional negligence (25)                    Judicial Review                             Miscellaneous Civil Petition
      D   Other non-Pl/PD/WO tort (35)                    D     Asset forfeiture (05)                 D     Partnership and corporate governance (21)
      ~loyment                                            D     Petition re: arbitration award (11)   D     Other petition (not specified above) (43)
   LJ Wrongful termination (36)                           D      Writ of mandate (02)
   [ZJ Other employment (15)                              D      Other iudicial review (39)
2. This case LJ is       l..:LJ is not        complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
      factors requiring exceptional judicial management:
      a. D     Large number of separately represented parties        d.         D
                                                                             Large number of witnesses
      b.D Extensive motion practice raising difficult or novel       e.         D
                                                                             Coordination with related actions pending in one or more courts
               issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
      c.D Substantial amount of documentary evidence                 f. D    Substantial posljudgment judicial supervision

3.    Remedies sought (check all that apply): a.[ZJ monetary b.D nonmonetary; declaratory or injunctive relief                                     c. D      punitive
4.    Number of causes of action (specify): 7
5.    This case       D is   [Z] ls not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: August 31, 2023
Kamran Shahabi, Esq.
                                   (TYPE OR PRINT NAME)
                                                                            NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
       other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                                                                                                                                                               ffae1of2
Form Adopted for Mandatory Use                                                                                  Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
  Judicial Council of California
                                                          CIVIL CASE COVER SHEET                                        Ca!. Standards of Judicial Administration, std. 3.10
   CM-010 [Rev. July 1, 2007]                                                                                                                        www.courtlnfo.ca.gov
          Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.42 Page 3 of 30
                                                                                                                                      CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                         Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                         Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                               Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                      complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                           Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                         Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                        Quiet Title
                Emotional Distress                                                                          Mechanics Lien
                                                         Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                         domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)               above) (43)
           (13)                                 Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                  Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                         Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ–Other Limited Court Case                            Claim
Employment                                                   Review                                         Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                             Page 2 of 2
                                                    CIVIL CASE COVER SHEET
     Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.43 Page 4 of 30


 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      330 W Broadway
 MAILING ADDRESS:     330 W Broadway
 CITY AND ZIP CODE:   San Diego, CA 92101-3627
 DIVISION:            Central
 TELEPHONE NUMBER: (619) 450-7072

PLAINTIFF(S) / PETITIONER(S):               Lindsey Mack

DEFENDANT(S) / RESPONDENT(S): Western Governors' University {IMAGED]


 MACK VS WESTERN GOVERNORS' UNIVERSITY [IMAGED]
                                                                                              CASE NUMBER:
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                            (CIVIL)                                                            37-2023-00037783-CU-OE-CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Timothy Taylor                                                                 Department: C-72


COMPLAINT/PETITION FILED: 08/31/2023

TYPE OF HEARING SCHEDULED                             DATE         TIME             DEPT               JUDGE
Civil Case Management Conference                      02/23/2024   09:15 am         C-72               Timothy Taylor


Case Management Conferences (CMCs) may be conducted virtually or in person. Anyone wishing to appear remotely should visit
the "Appearing for Hearings" page for the most current instructions on how to appear for the applicable case-type/department on the
court's website at www.sdcourt.ca.gov.
A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3. 725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.11 O; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
       Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complainUcross-complaint.
       Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.
ALTERNATIVE DISPUTE RESOLUTION /ADRl: The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                             (CIVIL)
     Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.44 Page 5 of 30




                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible fore-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV--40g) and Cal. Rules of Court, rules 2.250-2.261.

All Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code§ 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).

It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED
FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court's website at www.sdcourt.ca.gov.




                                                                                                                                        Page: 2
     Case 3:23-cv-01842-RBM-MSB Document 1-5 Filed 10/06/23 PageID.45 Page 6 of 30


                            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                 ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2023-00037783-CU-OE-CTL                     CASE TITLE: Mack vs Western Governors' University [IMAGED]


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

            Potential Advantages                             Potential Disadvantages
              Saves time                                        May take more time and money if ADR does not
              Saves money                                      resolve the dispute
              Gives parties more control over the dispute       Procedures to learn about the other side's case (discovery),
              resolution process and outcome                   jury trial, appeal, and other court protections may be limited
              Preserves or improves relationships              or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement office~• helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                Page: 1
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Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division 11, Chapter Ill and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code§§ 465 et seq.):
           In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
           In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.qov/se/fhelp/lowcost.




SDSC CIV-730 (Rev 12-10)   ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Page: 2
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                                                                                                                            FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREET ADDRESS:          330 West Broadway
  MAILING ADDRESS:         330 West Broadway
 CITY,STATE,&ZIPCOOE: San Diego, CA 92101-3827

  BRANCH NAME:             Central

  PLAINTIFF(S):        Lindsey Mack

  DEFENDANT(S): Western Governors' University [IMAGED]

  SHORT TITLE:         MACK VS WESTERN GOVERNORS' UNIVERSITY [IMAGED]
                                                                                                             CASE NUMBER:
                           STIPULATION TO USE ALTERNATIVE
                                                                                                              37-2023-00037783-CU-OE-CTL
                               DISPUTE RESOLUTION (ADR)

  Judge: Timothy Taylor                                                                          Department: C-72

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution {ADR) process. Selection of any of these options will not delay any case management timelines.
     D      Mediation (court-connected)                               D Non-binding private arbitration
     0      Mediation (private)                                       D Binding private arbitration
     D      Voluntary settlement conference (private)                 D Non-binding judicial arbitration (discovery until 15 days before trial)
     D      Neutral evaluation (private)                              D Non-binding judicial arbitration {discovery until 30 days before trial)
     D      Other (specify e.g., private mini-trial, pn'vate judge, etc.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral {for court Civil Mediation Program and arbitration only): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


  Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  Name of Plaintiff                                                                       Name of Defendant




  Signature                                                                               Signature



  Name of Plaintiffs Attorney                                                             Name of Defendant's Attorney




  Signature                                                                               Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.
                                                                                                          JUDGE OF THE SUPERIOR COURT
  Dated: 09/01/2023
SDSC CIV-359 {Rev 12-10}                                                                                                                                   Page: 1
                                     STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
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    1 Kamran Shahabi (State Bar No. 276194)                               ELECTRotHCALLV FILED
      ks@valiantlaw.com                                                    Superior Court of California.
                                                                              County of San Diego
    2 Paul Nolan (State Bar No. 192267)
      pjn@valiantlaw.com                                                    08/31/2023 at 03:27:07 PM
    3 VALIANT LAW                                                           Cieri< of the Superior Court
      800 Ferrari Lane, Suite 100                                          By Sophia Felix. Deputy Cieri<
    4 Ontario, California 91764
      Phone: 909 677 2270 ♦ Fax: 909 677 2290
    5

    6 Attorneys for PLAINTIFF, LINDSEY MACK

    7
    8                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

    9                                   COUNTY OF SAN DIEGO

   10
   11   LINDSEY MACK, an individual                         Case No   37-2023-00037783-CU-DE-CTL

   12               PLAINTIFF,                              PLAINTIFF'S COMPLAINT FOR:

   13         V.
                                                              1. Sex Discrimination in Violation of
   14 WESTERN GOVERNORS' UNIVERSITY, a                           Government Code§ 12940;
      Nonprofit Corporation, and DOES 1 through
   15 20, inclusive,                                          2. Retaliation in Violation of Government
                                                                 Code § 12940;
   16               Defendants.                               3. Whistleblower Retaliation in Violation
                                                                 of Labor Code§ 1102.5;
   17                                                         4. Failure to Prevent Discrimination,
                                                                 Harassment, and Retaliation in
   18                                                            Violation ofFEHA
   19                                                         5. Wrongful Termination in Violation of
                                                                 Public Policy;
   20                                                         6. Failure to Indemnify Necessary
                                                                 Expenditures in Violation of Labor
   21                                                            Code § 2802; and
                                                              7. Waiting Time Penalties Pursuant to
   22                                                            Labor Code§§ 201 and 203.
   23

   24                                                             DEMAND FOR JURY TRIAL

   25

   26         COMES NOW PLAINTIFF, LINDSEY MACK, an individual, and alleges as follows:

   27                                 JURISDICTION AND VENUE

   28         1.    This is an unlimited civil case and the Court has jurisdiction over this action because

                                                      -1-
                                                 COMPLAINT
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                                             1 the amount of controversy exceeds $25,000, exclusive of interest and costs.

                                             2          2.     Jurisdiction and Venue are proper in this Court under California Labor Code § 925,

                                             3 as PLAINTIFF is a California resident, PLAINTIFF’s claims arose in California as a California

                                             4 employee, and thus “the matter shall be adjudicated in California and California law shall govern.”

                                             5                                               PARTIES

                                             6          3.     PLAINTIFF LINDSEY MACK (hereinafter, “PLAINTIFF”), at all times relevant

                                             7 hereto, was and is a resident of the State of California.

                                             8          4.     PLAINTIFF is informed and believes, and thereon alleges, that Defendant

                                             9 WESTERN GOVERNORS’ UNIVERSITY (hereinafter, “WGU”), is a Utah Nonprofit Corporation

                                            10 which does business throughout the United States and, more specifically, with PLAINTIFF’s
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                                            11 residence and place of business in the State of California.
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     ONTARIO, CALIFORNIA 91764




                                            12          5.     PLAINTIFF is informed and believes, and thereon alleges, that DOES 1 through 20,
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                                            13 inclusive (hereinafter referred to as "DOES"), are or were individuals and/or are or were doing

                                            14 business at all times herein mentioned and material hereto in the State of California, and are/were

                                            15 the alter ego, agent, managing agent, principal, owner, partner, joint venture, representative,

                                            16 manager, and/or co-conspirator of each of the other defendants, and were at all times mentioned

                                            17 herein acting within the course and scope of said agency and employment, and that all acts or

                                            18 omissions alleged herein were duly committed with the ratification, knowledge, permission,

                                            19 encouragement, authorization and consent of each defendant designated herein.

                                            20          6.     The true names and capacities, whether individual, corporate or associate, or

                                            21 otherwise, designated herein as DOES, are unknown to PLAINTIFF at this time, who, therefore,

                                            22 sue said DOES by such fictitious names and will ask leave of Court to amend this Complaint to

                                            23 show their true names and capacities when ascertained.

                                            24          7.     PLAINTIFF is informed and believes and based thereon, alleges that at all times

                                            25 material hereto, WGU and DOES 1 through 20 (hereinafter collectively referred to as

                                            26 “DEFENDANTS”) and each of them, were duly authorized agents, or servants, or representatives,
                                            27 or co-conspirators of the other, or the alter ego, or the principal, or the owner, or representatives,

                                            28 and were acting at all times within the course and scope of their agency or representative capacity

                                                                                                 -2-
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                                             1 with the knowledge and consent of the other.

                                             2          8.     All of the acts and conduct herein and below described of each and every corporate

                                             3 Defendant was duly authorized, ordered by management-level employees of said corporate

                                             4 employers. In addition, thereto, said corporate employers participated in the aforementioned acts

                                             5 and conduct of their said employees, agents, and representatives, and each of them; and upon

                                             6 completion of the aforesaid acts and conducts of said corporate employees, agents and

                                             7 representatives, the Defendant corporations, respectively and collectively, ratified, accepted the

                                             8 benefits of, condoned, lauded, acquiesced, authorized and otherwise approved of each and all of the

                                             9 said acts and conduct of the aforementioned corporate employees, agents and representatives.

                                            10                    EXHAUSTION OF ADMINISTRATIVE PROCEEDINGS
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                                            11          9.     PLAINTIFF exhausted her administrative remedies by timely filing a complaint for
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     ONTARIO, CALIFORNIA 91764




                                            12 the issues required to be raised herein against WGU with the California Department of Fair

                                            13 Employment & Housing (“DFEH”) and thereafter received a “Right to Sue” letter from the DFEH
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                                            14 attached hereto as Exhibit “A.”

                                            15                                    FACTUAL ALLEGATIONS

                                            16          10.    WGU is a private online university which offers web-based learning to students

                                            17 throughout the United States and, specially, California. PLAINTIFF began her employment with

                                            18 WGU in or around November 2017 as an evaluator.

                                            19          11.    Throughout her entire employment with WGU, PLAINTIFF’s employment position

                                            20 was fully remote with PLAINTIFF performing all employment tasks from California. As such,

                                            21 PLAINTIFF was, at all times, eligible to receive reimbursement for necessary expenses including,

                                            22 but not limited to, internet access and phone bills pursuant to the Labor Code.

                                            23          12.    In or around August 2021, PLAINTIFF began advising WGU’s Human Resources

                                            24 department that WGU failed to properly compensate PLAINTIFF for such expenses. Unfortunately,

                                            25 PLAINTIFF’s complaints continually fell on deaf ears. It wasn’t until approximately one year later

                                            26 – in or around August 2022, while PLAINTIFF was out on maternity leave, that WGU finally
                                            27 investigated PLAINTIFF’s complaints and requests for reimbursement of her expenses.

                                            28 Unfortunately, and in conscious disregard for her rights, WGO has failed to fully reimburse

                                                                                                -3-
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                                             1 PLAINTIFF for all necessary expenses she has incurred to date.

                                             2          13.    Throughout her history of employment with WGU, PLAINTIFF was also the victim

                                             3 of a hostile and harassing work environment in which she was improperly singled out for

                                             4 disciplinary action without any basis whatsoever in a concerted effort by WGU to terminate anyone

                                             5 it considered to be problematic. These unfounded efforts to discipline PLAINTIFF were simply

                                             6 acts of retaliation carried out with the intent to constructively terminate PLAINTIFF.

                                             7          14.    Further, PLAINTIFF experienced discrimination and retaliation as a direct result of

                                             8 her notice of pregnancy and subsequent maternity leave. Notably, in or around March 2022,

                                             9 approximately one month prior to PLAINTIFF’s scheduled maternity leave in April 2022, WGU

                                            10 announced that they would be restructuring and creating new management positions. PLAINTIFF,
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                                            11 meeting all the posted position requirements and seeking to continue her career growth with WGU,
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                                            12 submitted her application for one of the new management positions. Unfortunately, Kirk Welter

                                            13 (hereinafter, “WELTER”), the Vice President over WGU’s restructuring and the hiring manager,
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                                            14 was informed of PLAINTIFF’s pregnancy status and maternity leave during the application process.

                                            15 As a direct result, PLAINTIFF was discriminated against by being overlooked for the position.

                                            16 Worse still, PLAINTIFF later discovered that the position was presented to an applicant who was

                                            17 much less qualified than her and who failed to meet the posted position requirements –

                                            18 demonstrating WGU’s animus against PLAINTIFF based upon her pending pregnancy and

                                            19 maternity leave and continued retaliation.

                                            20          15.    Adding insult to injury, while out on maternity leave, PLAINTIFF was once again

                                            21 overlooked for promotional opportunities due to her pregnancy and maternity leave status. In or

                                            22 around April 2022, another position became available, this position was for Senior Evaluator.

                                            23 Notably, this position is given based on tenure. PLAINTIFF, having worked for WGU for

                                            24 approximately five years, met the tenure requirement and would have been a top candidate for this

                                            25 position. Unfortunately, WGU once again displayed their discriminatory animus by failing to

                                            26 include PLAINTIFF’s information in the application process. When she confronted WGU about
                                            27 this, she was informed that her name was not included on account of her pregnancy and related

                                            28 leave.

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                                             1          16.      Thereafter, on or about September 22, 2022, PLAINTIFF returned from maternity

                                             2 leave. Shelly Sinclair (hereinafter “SINCLAIR”), PLAINTIFF’s new supervisor, directed her to

                                             3 access the WGU internet site, SharePoint, which houses documents such as recordings of team

                                             4 meetings, training documents, and team resources in order to familiarize herself after coming back

                                             5 from leave. To PLAINTIFF’s utter shock and surprise, she observed that personal and private

                                             6 information related to herself and her colleagues was available for anyone to access on the

                                             7 SharePoint site. Specifically, pay rates of new hires, addresses and phone numbers of all team

                                             8 members, performance data, individualized performance plans and corrective action documents.

                                             9          17.      PLAINTIFF recognized this open access and improper availability of private

                                            10 information as a violation of privacy and immediately advised WGU’s legal team of the situation as
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                                            11 she did not trust her supervisor to handle this issue properly. During this process, PLAINTIFF
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                                            12 stressed that WGU employees conduct an annual Family Educational Rights and Privacy Act

                                            13 (“FERPA”) training in order to prevent breaches such as the one PLAINTIFF discovered through
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                                            14 the SharePoint site. PLAINTIFF further requested that WGU immediately inform all members of

                                            15 this site that their personal information was being shared without their knowledge or consent.

                                            16          18.      Shockingly, four days later, on or about September 26, 2022, PLAINTIFF received

                                            17 an email from WGU’s Human Resources advising her that “effective tomorrow you will no longer

                                            18 be employed at the university.” PLAINTIFF reached out and requested a reason for her termination,

                                            19 however she never received a response. Moreover, PLAINTIFF is informed and believes WGU

                                            20 wrongfully terminated her employment in retaliation for her discovery and complaints related to

                                            21 WGU’s breach of her and her colleagues’ privacy rights.

                                            22          19.      PLAINTIFF now commences this suit against DEFENDANTS, and each of them,

                                            23 and alleges the following:

                                            24                                    FIRST CAUSE OF ACTION

                                            25                Sex Discrimination in Violation of California Government Code § 12940

                                            26                                      (As to All DEFENDANTS)
                                            27          20.      PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            28 preceding and subsequent paragraph as though fully set forth herein.

                                                                                                -5-
                                                                                           COMPLAINT
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                                             1          21.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                             2 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                             3          22.    At all times herein mentioned, Government Code §§ 12940 et seq., was in full force

                                             4 and effect and was binding on WGU. This statute requires WGU to refrain from discrimination

                                             5 against any employee based on their sex. Further, WGU may not refuse to hire, select for a training

                                             6 program or promotion, and may not discharge, discriminate, or retaliate against PLAINTIFF

                                             7 because of her sex or for opposing any unlawful employment practice, filing a complaint, testifying

                                             8 or assisting in any proceeding under the FEHA (Gov. Code § 12940 et seq.)

                                             9          23.    California Government code section 12926(r)(1) defines “sex” to include “pregnancy

                                            10 or medical conditions related to pregnancy” (Cal. Gov’t Code § 12926(r)(1)(A).) California
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                                            11 Government code section 12926(r)(1) defines “sex” to further include “childbirth or medical
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                                            12 conditions related to childbirth.” (Cal. Gov’t Code § 12926(r)(1)(B).) Furthermore, California
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                                            13 Government code sections 12926 and 12940 requires an employer to allow an employee disabled

                                            14 by pregnancy, childbirth or related medical conditions to take a leave of absence and to maintain

                                            15 her health insurance during the leave. Additionally, FEHA protects a women’s right to hold

                                            16 employment and receive paid maternal leave for pregnancy. Therefore, it is illegal for an employer

                                            17 to terminate an employee for their pregnancy status.

                                            18          24.    WGU knew, or reasonably should have known, that PLAINTIFF’s pregnancy would

                                            19 limit her major life activities, or that PLAINTIFF might require certain reasonable accommodations

                                            20 related to her pregnancy, specifically maternity leave.

                                            21          25.    WGU, however, engaged in a pattern and practice of sex discrimination beginning

                                            22 in or around March 2022 through PLAINTIFF’s termination. WGU’s managers and supervisors,

                                            23 trusted to employ fair and legal practices, denied PLAINTIFF her legal rights, and treated her

                                            24 differently because of her sex – specifically her pregnancy.

                                            25          26.    PLAINTIFF was treated differently, discriminated, and retaliated against because of

                                            26 her sex – specifically her pregnancy. PLAINTIFF was subject to disparate treatment and
                                            27 discrimination by being denied and overlooked for two separate promotional opportunities on

                                            28 account of her pregnancy and subsequent maternity leave.

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                                             1          27.    WGU’s discrimination and retaliation include (without limitation) PLAINTIFF

                                             2 being denied two separate promotional opportunities and ultimately terminated.

                                             3          28.    By engaging in the above referenced acts and omission, WGU discriminated against

                                             4 PLAINTIFF because of her sex in violation of Government Code §§ 12940, et seq. and PLAINTIFF

                                             5 was significantly harmed. WGU’s conduct was a substantial factor in causing PLAINTIFF’s harm.

                                             6          29.    As such, and as a result of WGU’s unlawful conduct, PLAINTIFF suffered and

                                             7 continues to suffer economic loss or disadvantage both as earnings and benefits, and emotional

                                             8 distress, including (without limitation), depression, decline in health, anxiety, embarrassment,

                                             9 humiliation, loss of self-esteem, and mental anguish.

                                            10          30.    PLAINTIFF will seek economic damages, non-economic damages, punitive
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                                            11 damages, recovery of her reasonable attorney’s fees and costs as the prevailing party and in amounts
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                                            12 to be proven at trial in addition to interest thereon and any and all other remedies and damages
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                                            13 available under the applicable laws.

                                            14                                   SECOND CAUSE OF ACTION

                                            15                  Retaliation in Violation of California Government Code § 12940

                                            16                                      (As to All DEFENDANTS)

                                            17          31.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            18 preceding and subsequent paragraph as though fully set forth herein.

                                            19          32.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                            20 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                            21          33.    California Government Code § 12940(h), et seq. makes it an unlawful employment

                                            22 practice for an employer to retaliate against an employee who participated in a protected activity.

                                            23          34.    PLAINTIFF engaged in a protected activity when she requested reasonable

                                            24 accommodations for her pregnancy, specifically maternity leave.

                                            25          35.    In response thereto, WGU retaliated against PLAINTIFF by overlooking her

                                            26 application for a management position in addition to failing to consider her for promotional
                                            27 opportunities simply because she was out on maternity leave.

                                            28          36.    By engaging in the above-referenced acts and omissions, WGU, and each of them,

                                                                                                -7-
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                                             1 retaliated against PLAINTIFF because she participated in protected activities in violation of

                                             2 Government Code § 12940 et seq.

                                             3          37.    WGU’s retaliatory conduct was a substantial factor in causing PLAINTIFF’s harm.

                                             4          38.    As a result of WGU’s unlawful conduct, PLAINTIFF suffered and continues to

                                             5 suffer economic loss or disadvantage both as earnings and benefits, and distress, including but not

                                             6 limited to, depression, decline in health, anxiety, embarrassment, humiliation, loss of self-esteem,

                                             7 and mental anguish. PLAINTIFF is entitled to and will seek exemplary, general, and compensatory

                                             8 damages and attorney’s fees and costs in amounts to be proven at trial in addition to interest thereon

                                             9 and any and all other remedies and damages available under the applicable laws.

                                            10                                    THIRD CAUSE OF ACTION
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                                            11                  Whistleblower Retaliation in Violation of Labor Code § 1102.5
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     ONTARIO, CALIFORNIA 91764




                                            12                                      (As to All DEFENDANTS)
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                                            13          39.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            14 preceding and subsequent paragraph as though fully set forth herein .

                                            15          40.    WGU was PLAINTIFF’s employer at all relevant times mentioned herein.

                                            16 PLAINTIFF was WGU’s employee at all relevant times mentioned herein.

                                            17          41.    At all times herein mentioned, Labor Code § 1102 was in full force and effect to

                                            18 promote a “broad public policy interest in encouraging workplace whistleblowers to report unlawful

                                            19 acts without fearing retaliation.” (See Green v. Ralee Engineering Co. (1998) 19 Cal.4th 66, 77.)

                                            20          42.    In or around August 2021, PLAINTIFF complained to WGU regarding their failures

                                            21 to properly compensate her for all business expenses related to her remote position – specifically

                                            22 with regards to internet access and phone bills. Additionally, PLAINTIFF also complained on or

                                            23 about September 22, 2022 regarding WGU’s clear FERPA violation regarding her own and several

                                            24 employee’s personal information being shared on the public SharePoint website.

                                            25          43.    PLAINTIFF had reasonable cause to believe that the information she disclosed was

                                            26 evidence of a violation of law by WGU.
                                            27          44.    PLAINTIFF alleges that WGU retaliated against her and ultimately terminated her

                                            28 employment on September 26, 2022, due to PLAINTIFF’s disclosure of WGU’s breaches of

                                                                                                 -8-
                                                                                            COMPLAINT
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                                             1 confidentiality and their failures to timely and properly compensate her for all business expenses.

                                             2          45.    Because of her complaints, PLAINTIFF, an employee of WGU and a whistleblower,

                                             3 it was unlawful for DEFENDANT to retaliate against her.

                                             4          46.    PLAINTIFF is informed and believes, and on that basis alleges that PLAINTIFF’s

                                             5 making the complaints and reports to WGU regarding their failures to compensate her for all

                                             6 business expenses pursuant to the Labor Code and for their clear breach of employee confidentiality

                                             7 by disclosing personal and private information on the public SharePoint website were contributing

                                             8 factors in WGU’s decision to retaliate against PLAINTIFF by terminating her employment.

                                             9          47.    The above adverse action resulting from WGU’s conduct, alleged above, was a

                                            10 substantial factor in causing PLAINTIFF harm.
TELEPHONE 909 677 2270 ♦ FAX 909 677 2290




                                            11          48.    As a direct result of the unlawful acts of WGU, as alleged above, including
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     ONTARIO, CALIFORNIA 91764




                                            12 PLAINTIFF’s wrongful termination, PLAINTIFF has suffered lost wages, lost benefits, and
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                                            13 emotional distress in an amount to be proven at trial.

                                            14          49.    WGU’s conduct, as alleged above, constitutes oppression, fraud, and malice within

                                            15 the meaning of Civil Code §3294 in that conduct was intended by WGU to cause PLAINTIFF injury

                                            16 and was committed by WGU with a willful and conscious disregard of PLAINTIFF’s rights,

                                            17 entitling PLAINTIFF to an award of exemplary or punitive damages.

                                            18          50.    PLAINTIFF is entitled to and seeks any and all available remedies including but not

                                            19 limited to civil penalties under Labor Code §1102.5m economic damages (including back pay and

                                            20 front pay and all benefits), general damages (including pain and suffering), punitive damages, and

                                            21 pursuant to California Code of Civil Procedure §1021.5, Business and Professions Code §17200 et.

                                            22 set., the substantial benefit doctrine, and the common found doctrine.

                                            23                                  FOURTH CAUSE OF ACTION

                                            24      Failure to Prevent Discrimination, Harassment, and Retaliation in Violation of FEHA

                                            25                                        (As to All Defendants)

                                            26          51.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every
                                            27 allegation contained above as though fully set forth herein.

                                            28          52.    PLAINTIFF was an employee of WGU at all times relevant herein, PLAINTIFF was

                                                                                                -9-
                                                                                            COMPLAINT
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                                             1 subjected to unlawful conduct, harassment, discrimination and retaliation as alleged in this

                                             2 Complaint. WGU failed to take reasonable steps to prevent the harassment, discrimination, and

                                             3 retaliation.

                                             4          53.    WGU’s failure to take all reasonable steps to prevent the harassment, discrimination

                                             5 and retaliation was a substantial factor in causing PLAINTIFF’s harm.

                                             6          54.    As a result of DEFENDANTS’ unlawful conduct, PLAINTIFF suffered and

                                             7 continues to suffer economic loss or disadvantage both as earnings and benefits, and emotional

                                             8 distress, including depression, decline in health, anxiety, embarrassment, humiliation, loss of self-

                                             9 esteem, and mental anguish. PLAINTIFF is entitled to and will seek exemplary, general, and

                                            10 compensatory damages and attorney’s fees and costs as to WGU in amounts to be proven at trial in
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                                            11 addition to interest thereon and any and all other remedies and damages available under the
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     ONTARIO, CALIFORNIA 91764




                                            12 applicable laws.
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                                            13                                    FIFTH CAUSE OF ACTION

                                            14                        Wrongful Termination in Violation of Public Policy

                                            15                                        (As to All Defendants)

                                            16          55.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            17 preceding and subsequent paragraph as though fully set forth herein .

                                            18          56.    PLAINTIFF was an employee of WGU at all relevant times mentioned herein.

                                            19          57.    WGU wrongfully terminated PLAINTIFF on or about September 26, 2022.

                                            20          58.    PLAINTIFF’s complaints regarding WGU’s failures to compensate her for her

                                            21 business expenses pursuant to California Labor Codes in addition to their FERPA violation by

                                            22 breaching employee confidentiality by releasing personal and private information through their

                                            23 public SharePoint website were motivating reasons for PLAINTIFF’s discharge.

                                            24          59.    PLAINTIFF was harmed as a result of WGU’s unlawful conduct and wrongful

                                            25 discharge.

                                            26          60.    Jurisdiction is invoked in this court pursuant to the public policy and common law
                                            27 of the State of California, pursuant to the case of Tameny v. Atalantic Richfield Company (1980) 27

                                            28 Cal.3d 167 and Gould v. Maryland Sound Industries, Inc. (1995) 31 Cal. App. 4th 1337.

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                                                                                            COMPLAINT
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                                             1 Fundamental California public policy requires that employees be paid in accordance with the

                                             2 California Labor Code. Prompt payment of wages due an employee as required by Labor Code 201,

                                             3 202, and 216(a), is a fundamental public policy of this state, serving the interest of the public at

                                             4 large, not merely the interest of the employee to whom the wages are due.         Further, “there is a

                                             5 ‘fundamental public interest in a workplace free from illegal practices … .’ ‘[T]he public interest is

                                             6 in a lawful, not criminal, business operation. Attainment of this objective requires that an employee

                                             7 be free to call his or her employer’s attention to illegal practices, so that the employer may prevent

                                             8 crimes from being committed by misuse of its products by its employees.’” Yau v. Allen (2014) 229

                                             9 Cal.App.4th 144, 157.

                                            10          61.     Additionally, under California law, there is a fundamental and well-established
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                                            11 public policy against retaliating for protesting and attempting to remedy and prevent illegal actions
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     ONTARIO, CALIFORNIA 91764




                                            12 and Labor Code violations. Said public policy is embodied in the Constitution of the State of
            VALIANT LAW




                                            13 California, Statutory law of the State of California, as well as case law. These statutes are intended

                                            14 to protect persons like PLAINTIFF. It is further the public policy of the State of California that

                                            15 employers shall not discharge any person because the person has opposed any of the employer’s

                                            16 practices in violation of the Labor Code. This public policy is fundamental, substantial, and well-

                                            17 grounded in the Constitution of California and California statute and regulations.

                                            18          62.     Accordingly, PLAINTIFF’s actions of complaining regarding WGU’s failures to

                                            19 compensate her for her business expenses pursuant to California Labor Codes in addition to their

                                            20 FERPA violation by breaching employee confidentiality by releasing personal and private

                                            21 information through their public SharePoint website were motivating reasons for PLAINTIFF’s

                                            22 discharge. Such activities were in violation of the public policy of the State of California and has

                                            23 resulted in damages and injury to PLAINTIFF as alleged herein.

                                            24          63.     In doing so, said managing agents and/or officers of WGU, acted with oppression,

                                            25 fraud, and malice as those terms are used in California Civil Code 3294. As such, PLAINTIFF is

                                            26 entitled to an award of punitive damages.
                                            27          64.     As a result of the aforesaid acts, PLAINTIFF has lost, and will continue to lose,

                                            28 substantial earnings, promotional opportunities, and fringe benefits. Furthermore, PLAINTIFF has

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                                                                                            COMPLAINT
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                                             1 suffered and will continue to suffer other actual, consequential and incidental financial losses, in an

                                             2 amount to be proven at trial in excess of the jurisdictional minimum of this court.

                                             3          65.    As a result of the foregoing, PLAINTIFF has become mentally upset, distressed,

                                             4 embarrassed, humiliated, and aggravated in a sum in excess of the jurisdictional minimum of this

                                             5 Court. PLAINTIFF has incurred and continues to incur legal expenses and attorney’s fees.

                                             6 PLAINTIFF will seek the recovery of her attorney’s fees and costs at the conclusion of this lawsuit.

                                             7 PLAINTIFF is accordingly entitled to exemplary, general, and compensatory damages and

                                             8 attorney’s fees in amounts to be proven at trial, in addition to interest thereon and any and all other

                                             9 remedies and damages available under applicable laws.

                                            10          66.    Furthermore, WGU’s decision to wrongfully terminate PLAINTIIFF was a
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                                            11 substantial motivating factor in causing PLAINTIFF’s harm.
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                                            12                                     SIXTH CAUSE OF ACTION
            VALIANT LAW




                                            13         Failure to Indemnify Necessary Expenditures in Violation of Labor Code § 2802

                                            14                                         (As to All Defendants)

                                            15          67.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                            16 preceding and subsequent paragraph as though fully set forth herein .

                                            17          68.    California Labor Code § 2808 provides that, “[a]n employer shall indemnify his or

                                            18 her employee for all necessary expenditures or losses incurred by the employee in direct

                                            19 consequence of the discharge of his or her duties, or of his obedience to the directions of the

                                            20 employer.”

                                            21          69.    As a fully remote worker for WGU, PLAINTIFF was forced to use her personal cell

                                            22 phone and internet services throughout her employment. Notably, pursuant to the Labor Code, WGU

                                            23 is obligated to reimburse PLAINTIFF for all necessary expenditures PLAINTIFF has accrued.

                                            24          70.    During PLAINTIFF’s employment with WGU, WGU failed to reimburse

                                            25 PLAINTIFF for her internet access and phone bills used to perform work for WGU.

                                            26          71.    Despite PLAINTIFF’s request to be paid the wages she was rightfully entitled to,
                                            27 WGU continue to ignore and neglect paying said expenses.

                                            28          72.    As a direct result of their actions, PLAINTIFF has suffered and continues to suffer

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                                                                                             COMPLAINT
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                                             1 monetary damage, emotional distress and increasing attorney’s fees.

                                             2          73.    Consequently, PLAINTIFF seeks to recover the full amount of the expenses incurred

                                             3 in the performance of her job duties, interests, reasonable attorneys’ fees and costs, and penalties as

                                             4 permitted under the law.

                                             5                                      SEVENTH CAUSE OF ACTION

                                             6                      Waiting Time Penalties in Violation of Labor Code §§ 201 and 203

                                             7                                             (As to All Defendants)

                                             8          74.    PLAINTIFF incorporates by reference, repeats, and realleges, each and every

                                             9 preceding and subsequent paragraph as though fully set forth herein .

                                            10          75.    Labor Code § 201 requires employers to immediately pay all earned and unpaid
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                                            11 wages to discharged employees at the time of discharge.
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     ONTARIO, CALIFORNIA 91764




                                            12          76.    PLAINTIFF is no longer employed with WGU as she was wrongfully terminated.
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                                            13 WGU failed to pay PLAINTIFF all of her earned wages immediately at the time they discharged

                                            14 her from employment including PLAINTIFF’s rightfully owed reimbursement.

                                            15          77.    WGU’s failure to pay wages, as alleged above, was willful in that WGU knew wages

                                            16 were due but failed to pay them, thus entitling PLAINTIFF to penalties under Labor Code § 230,

                                            17 which provides that an employee’s wages shall continue as a penalty until paid for a period of up to

                                            18 thirty (30) days from the time they were due.

                                            19          78.    WGU has failed to pay PLAINTIFF a sum certain at the time of termination and has

                                            20 failed to pay those sums and benefits. Pursuant to Labor Code § 230. PLAINTIFF is entitled to

                                            21 penalties in the amount of her daily wages multiplied by, up to thirty (30) days.

                                            22                                       PRAYER FOR RELIEF

                                            23          WHEREFORE, PLAINTIFF prays for judgment against DEFENDANT, and each of them,

                                            24 as follows:

                                            25      1. For economic damages in excess of $5,000,000 according to proof;

                                            26      2. For compensatory damages and non-economic damages in excess of $10,000,000 according
                                            27          to proof;

                                            28      3. For liquidated damages allowed as a matter of law;

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                                                                                             COMPLAINT
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                                             1    4. For civil penalties allowed as a matter of law;

                                             2    5. For special damages according to proof;

                                             3    6. For punitive damages where allowed by law;

                                             4    7. For pre-judgment and post-judgment interest pursuant to California Civil Code § 3287

                                             5       and/or California Civil Code § 3288 and/or any other provision of law providing for

                                             6       prejudgment and post-judgment interest;

                                             7    8. For attorneys’ fees where allowed by law;

                                             8    9. For costs of suit incurred herein; and

                                             9    10. For such other and further relief as this Court deems just and proper.

                                            10
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                                            11 DATED: August 31, 2023                            VALIANT LAW
     800 FERRARI LANE, SUITE 100
     ONTARIO, CALIFORNIA 91764




                                            12
            VALIANT LAW




                                            13                                           By:
                                            14                                                         KAMRAN SHAHABI
                                                                                                       PAUL NOLAN
                                            15                                                         Attorneys for PLAINTIFF LINDSEY
                                                                                                       MACK
                                            16

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                                                                                          COMPLAINT
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        EXHIBIT A
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              S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                        KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023


 Raymond Babaian
 800 Ferrari Ln., Suite 100
 Ontario, CA 91764

 RE:    Notice to Complainant’s Attorney
        CRD Matter Number: 202308-21809530
        Right to Sue: Mack / Western Governors' University

 Dear Raymond Babaian:

 Attached is a copy of your complaint of discrimination filed with the Civil Rights
 Department (CRD) pursuant to the California Fair Employment and Housing Act,
 Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
 Closure and Right to Sue.

 Pursuant to Government Code section 12962, CRD will not serve these
 documents on the employer. You must serve the complaint separately, to all named
 respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
 information regarding filing a private lawsuit in the State of California. A courtesy "Notice
 of Filing of Discrimination Complaint" is attached for your convenience.

 Be advised that the CRD does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements.

 Sincerely,

 Civil Rights Department




                                                                                                   CRD - ENF 80 RS (Revised 02/23)
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              S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                        KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023

 RE:    Notice of Filing of Discrimination Complaint
        CRD Matter Number: 202308-21809530
        Right to Sue: Mack / Western Governors' University

 To All Respondent(s):

 Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
 Rights Department (CRD) in accordance with Government Code section 12960. This
 constitutes service of the complaint pursuant to Government Code section 12962. The
 complainant has requested an authorization to file a lawsuit. A copy of the Notice of
 Case Closure and Right to Sue is enclosed for your records.

 Please refer to the attached complaint for a list of all respondent(s) and their
 contact information.

 No response to CRD is requested or required.

 Sincerely,

 Civil Rights Department




                                                                                                   CRD - ENF 80 RS (Revised 02/23)
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              S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                        KEVIN KISH, DIRECTOR
              Civil Rights Department
              2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
              800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
              calcivilrights.ca.gov | contact.center@calcivilrights.ca.gov




 August 30, 2023

  Lindsey Mack
  ,

 RE:   Notice of Case Closure and Right to Sue
       CRD Matter Number: 202308-21809530
       Right to Sue: Mack / Western Governors' University

 Dear Lindsey Mack:

 This letter informs you that the above-referenced complaint filed with the Civil Rights
 Department (CRD) has been closed effective August 30, 2023 because an immediate
 Right to Sue notice was requested.

 This letter is also your Right to Sue notice. According to Government Code section
 12965, subdivision (b), a civil action may be brought under the provisions of the Fair
 Employment and Housing Act against the person, employer, labor organization or
 employment agency named in the above-referenced complaint. The civil action must be
 filed within one year from the date of this letter.

 To obtain a federal Right to Sue notice, you must contact the U.S. Equal
 Employment Opportunity Commission (EEOC) to file a complaint within 30 days
 of receipt of this CRD Notice of Case Closure or within 300 days of the alleged
 discriminatory act, whichever is earlier.

 Sincerely,


 Civil Rights Department




                                                                                                   CRD - ENF 80 RS (Revised 02/23)
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 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                       Civil Rights Department
                     Under the California Fair Employment and Housing Act
 3
                                  (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Lindsey Mack                                                      CRD No. 202308-21809530

 6                                  Complainant,
     vs.
 7
      Western Governors' University
 8
      4001 South 700 East Suite 700
 9    Salt Lake City, UT 84107

10                                   Respondents

11
12
     1. Respondent Western Governors' University is an employer subject to suit under the
13   California Fair Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

14
15   2. Complainant Lindsey Mack, resides in the City of , State of .

16
   3. Complainant alleges that on or about September 26, 2022, respondent took the
17 following adverse actions:
18 Complainant was discriminated against because of complainant's sex/gender,
     pregnancy, childbirth, breast feeding, and/or related medical conditions, pregnancy disability
19 leave (pdl) and as a result of the discrimination was terminated, denied hire or promotion,
     denied any employment benefit or privilege, denied work opportunities or assignments.
20
21 Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment, requested or used a pregnancy-disability-related
22   accommodation and as a result was terminated, denied hire or promotion, denied any
     employment benefit or privilege, denied work opportunities or assignments.
23
24 Additional Complaint Details: WGU is a private online university which offers web-based
     learning to students throughout the United States and, specially, California. COMPLAINANT
25 began her employment with WGU in or around November 2017 as an evaluator.
26                                                 -1-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
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 1 Throughout her entire employment with WGU, COMPLAINANT’s employment position was
     fully remote with COMPLAINANT performing all employment tasks from California. As such,
 2 COMPLAINANT was, at all times, eligible to receive reimbursement for necessary expenses
     including, but not limited to, internet access and phone bills pursuant to the Labor Code.
 3 In or around August 2021, COMPLAINANT began advising WGU’s Human Resources
     department that WGU failed to properly compensate COMPLAINANT for such expenses.
 4 Unfortunately, COMPLAINANT’s complaints continually fell on deaf ears. It wasn’t until
     approximately one year later – in or around August 2022, while COMPLAINANT was out on
 5 maternity leave, that WGU finally investigated COMPLAINANT’s complaints and requests
     for reimbursement of her expenses. Unfortunately, and in conscious disregard for her rights,
 6
     WGO has failed to fully reimburse COMPLAINANT for all necessary expenses she has
 7   incurred to date.
     Throughout her history of employment with WGU, COMPLAINANT was also the victim of a
 8   hostile and harassing work environment in which she was improperly singled out for
     disciplinary action without any basis whatsoever in a concerted effort by WGU to terminate
 9   anyone it considered to be problematic. These unfounded efforts to discipline
     COMPLAINANT were simply acts of retaliation carried out with the intent to constructively
10   terminate COMPLAINANT.
     Further, COMPLAINANT experienced discrimination and retaliation as a direct result of her
11   notice of pregnancy and subsequent maternity leave. Notably, in or around March 2022,
     approximately one month prior to COMPLAINANT’s scheduled maternity leave in April 2022,
12   WGU announced that they would be restructuring and creating new management positions.
     COMPLAINANT, meeting all the posted position requirements and seeking to continue her
13   career growth with WGU, submitted her application for one of the new management
     positions. Unfortunately, Kirk Welter (hereinafter, “WELTER”), the Vice President over
14   WGU’s restructuring and the hiring manager, was informed of COMPLAINANT’s pregnancy
     status and maternity leave during the application process. As a direct result,
15
     COMPLAINANT was discriminated against by being overlooked for the position. Worse still,
16   COMPLAINANT later discovered that the position was presented to an applicant who was
     much less qualified than her and who failed to meet the posted position requirements –
17   demonstrating WGU’s animus against COMPLAINANT based upon her pending pregnancy
     and maternity leave and continued retaliation.
18   Adding insult to injury, while out on maternity leave, COMPLAINANT was once again
     overlooked for promotional opportunities due to her pregnancy and maternity leave status.
19   In or around April 2022, another position became available, this position was for Senior
     Evaluator. Notably, this position is given based on tenure. COMPLAINANT, having worked
20   for WGU for approximately five years, met the tenure requirement and would have been a
     top candidate for this position. Unfortunately, WGU once again displayed their discriminatory
21   animus by failing to include COMPLAINANT’s information in the application process. When
     she confronted WGU about this, she was informed that her name was not included on
22   account of her pregnancy and related leave.
     Thereafter, on or about September 22, 2022, COMPLAINANT returned from maternity
23   leave. Shelly Sinclair (hereinafter “SINCLAIR”), COMPLAINANT’s new supervisor, directed
     her to access the WGU internet site, SharePoint, which houses documents such as
24
     recordings of team meetings, training documents, and team resources in order to familiarize
25   herself after coming back from leave. To COMPLAINANT’s utter shock and surprise, she

26                                                 -2-
                                   Complaint – CRD No. 202308-21809530
27
     Date Filed: August 30, 2023
28
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 1 observed that personal and private information related to herself and her colleagues was
     available for anyone to access on the SharePoint site. Specifically, pay rates of new hires,
 2 addresses and phone numbers of all team members, performance data, individualized
     performance plans and corrective action documents.
 3 COMPLAINANT recognized this open access and availability of private information as a
     violation of privacy and immediately advised WGU’s legal team of the situation as she did
 4 not trust her supervisor to handle this issue properly. During this process, COMPLAINANT
     stressed that WGU employees conduct an annual Family Educational Rights and Privacy
 5 Act (“FERPA”) training in order to prevent breaches such as the one COMPLAINANT
     discovered through the SharePoint site. COMPLAINANT further requested that WGU
 6
     immediately inform all members of this site that their personal information was being shared
 7   without their knowledge or consent.
     Shockingly, four days later, on or about September 26, 2022, COMPLAINANT received an
 8   email from WGU’s Human Resources advising her that “effective tomorrow you will no
     longer be employed at the university.” COMPLAINANT reached out and requested a reason
 9   for her termination, however she never received a response. Moreover, COMPLAINANT is
     informed and believes WGU wrongfully terminated her employment in retaliation for her
10   acknowledging and complaining of WGU’s breach of her and her colleagues privacy rights.

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                                   Complaint – CRD No. 202308-21809530
27
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                                                                              CRD-ENF 80 RS (Revised 12/22)
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 1 VERIFICATION
 2 I, Raymond Babaian, am the Attorney in the above-entitled complaint. I have read
   the foregoing complaint and know the contents thereof. The matters alleged are
 3
   based on information and belief, which I believe to be true.
 4
   On August 30, 2023, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                               Ontario, CA
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26                                                 -4-
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27
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28
                                                                         CRD-ENF 80 RS (Revised 12/22)
